      Case:11-06620-ESL11 Doc#:343 Filed:01/14/15 Entered:01/14/15 13:33:35                              Desc:
                          Order Granting (Generic) Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:                                                      Case No. 11−06620 ESL

HOTEL AIRPORT INC
                                                            Chapter 11

66−0622240

                                                            FILED & ENTERED ON 1/14/15
                        Debtor(s)



                                                       ORDER

The motion filed by debtor in possession requesting that case be closed. (docket #342) is hereby granted .

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Wednesday, January 14, 2015 .
